    Case 5:19-mj-00621-DUTY                           Document 7           Filed 11/22/19       Page 1 of 4 Page ID #:32
(

          1


         2

         3

         4

         5

         6                                            UNITED STATES DISTRICT COURT
         7                                        CENTRAL DISTRICT OF CALIFORNIA
         8
               UNITED STATES OF AMERICA,
         9

       10                                                     Plaintiff,        CASE     NO.      ED19-621M

       11                                          v.
       12            EFRAIN CHAVEZ,                                             ORDER OF DETENTION
       13

       14                                                     Defendant.
       15

       16                                                                        1.

       17 A. () OnX motion of the Government in a case allegedly involving:

       18 1. () a crime of violence.
       19 2. () an offense with maximum sentence of life imprisonment or death.

                    X
       20 3. () a narcotics or controlled substance offense with maximum sentence

       21                                    of ten or more years .
       22 4. () any felony - where the defendant has been convicted of two or more

       23 prior offenses described above.
       24 5. () any felony that is not otherwise a crime of                                              violence that involves a
       25                                    minor victim, or possession or use of a firearm or destructive device
       26                                    or any other dangerous weapon, or a failure to register under 18
       27                                    V.S.C § 2250.
       28 B. () On motion by the Government / ( ) on Court's own motion, in a case

                                                        ORDER OF DETENTION AFTER HEARING (18 U.S.c. §3142(i))

               CR-94 (06/07)                                                                                              Page 1 of4
Case 5:19-mj-00621-DUTY                        Document 7        Filed 11/22/19               Page 2 of 4 Page ID #:33


    1                           allegedly involving:
    2                X On the further allegation by the Government of:
                    ()

    3                  X a serious risk that the defendant wil flee.
                    1. ()

    4              2. () a serious risk that the defendant wil:

    5                    a. ( ) obstruct or attempt to obstruct justice.

    6                    b. ( ) threaten, injure, or intimidate a prospective witness or juror or

    7                                  attempt to do so.
    8           X Government ( X) is/ ( ) is not entitled to a rebuttable presumption that no
             C. The
    9              condition or combination of conditions wil reasonably assure the defendant's
   10              appearance as required and the safety of any person or the community.
   11

   12                                                                   II.
   13        A. (X)            The Court finds that no condition or combination of conditions wil
   14                          reasonably          assure:
   15              1. (X)              the appearance of the defendant as required.
   16                    (X)           and/or
   17              2. (X )            the safety of any person or the community.
   18        B. (X)            The Court finds that the defendant has not rebutted by sufficient
   19                          evidence to the contrary the presumption provided by statute.
   20

   21                                                                  III.
   22        The Court has considered:
   23        A. the nature and circumstances of                     the offense(s) charged, including whether            the
   24             offense is a crime of violence, a Federal crime of terrorism, or involves a minor
   25             victim or a controlled substance, firearm, explosive, or destructive device;
   26       B. the weight of evidence against the defendant;
   27        C. the history and characteristics of the defendant; and
   28       D. the nature and seriousness of                     the danger to any person or to the community.
                                               ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

        CR-94 (06/07)                                                                                               Page 2 of4
Case 5:19-mj-00621-DUTY           Document 7         Filed 11/22/19       Page 3 of 4 Page ID #:34


    1 iv.
    2 The Court also has considered all the evidence adduced at the hearing and the
    3 arguments and/or statements of counsel, and the Pretrial Services

    4 Report/recommendation.


    6 V.
    5




    7 The Court bases the foregoing finding( s) on the following:
            X to flight risk:
    8 A. () As

    9                    Extensive criminal history

   10                    Prior probation violations
   11                    Foreign travel and lack of candor regarding travel

   12                     Limited bail resources

   13

   14

   15

   16 B. () x As to danger:
   17                   Instant allegations

   18                   Extensive criminal history

   19                   Prior probation violations

   20                   Currently on probation

   21

   22



   24 V1.
   23



   25 A. () The Court finds that a serious risk exists that the defendant wil:
   26 1. ( ) obstruct or attempt to obstruct justice.
   27 2. ( ) attempt to/ ( ) threaten, injure or intimidate a witness or juror.
   28

                                  ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

        CR-94 (06/07)                                                                           Page 3 of4
Case 5:19-mj-00621-DUTY                          Document 7         Filed 11/22/19        Page 4 of 4 Page ID #:35


     1 B. The Court bases the foregoing finding(s) on the following:

     2

     3

     4

     5

     6

    7

     8

    9                                                                    VII.
   10

   11 A. IT is THEREFORE ORDERED that the defendant be detained prior to triaL.
                                 ---- ._--- - ------ - ----
   12 B. IT is FURTHER ORDERED that the defendant be committed to the
   13 custody of the Attorney General for confinement in a corrections facilty
   14 separate, to the extent practicable, from persons awaiting or serving
   15 sentences or being held in custody pending appeaL.
   16 C. IT is FURTHER ORDERED that the defendant be afforded reasonable
   17 opportunity for private consultation with counseL.
   18 D. IT is FURTHER ORDERED that, on order of a Court of                                               the United States
   19 or on request of any attorney for the Government, the person in charge of
   20 the corrections facilty in which the defendant is confined deliver the
   21 defendant to a United States marshal for the purpose of an appearance in
   22 connection with a court proceeding.
   23

   24

   25
   6/ DATED:
   26                            11/22/19
                                                                        KENL Y KIYA KA TO
   27                                                                   UNITED STATES MAGISTRATE JUDGE
   28

                                                  ORDER OF DETENTION AFTER HEARING (18 U.S.c. §3142(i))

          CR-94 (06/07)                                                                                               Page 4 of4
